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EXHIBIT |
~~ From: Réita Chel The Stiealowstatcaltybhid Migs? 49 Page!D-473 Filed OSHAM6-—-Page-2-0f 3———-

 

Date: Wednesday, May 20, 2015
Subject: Varchetti, Julie Official Offer Letter for Regina Caeli, Inc. (Assistant)
To: PRAYJULIEPRAY @gmail.com

Regina Caeli,Inc.
“training the mind to form the soul”
Official Offer Letter

Date: 5/20/2015

Center Location: Detroit

Dear Varchetti, Julie,

Regina Caeli Academy is pleased to offer you a position in our homeschool assistance tutoring program.

Position: Assistant

Salary: $0.

Start/End date: August 17, 2015 & May 16 2016

Work Days & Hours: Monday & Thursday 8:15 am - 4:00 pm

Additional days of work include: Staff Training, Open House and Tutor Workday (refer to center calendar for scheduled days)

Specific tutoring responsibilities have been assigned for the following subjects.:

Assistant

Note: Please keep in mind that while these courses listed are your most likely assignments, changes in staff or enrollment may result in adjustments.
Please contact your focal CCE with any questions.

Please use the following link to sign 2015-16 Staff Contract, Oath of Fidelity & Acknowledgement of 2015-16 Staff Handbook:
2015-16 Employee Agreement

Books and supplies will be distributed for the purposes of the tutoring assignments.

These items must be FAXED or mailed to address below.

1. Consent to perform background check

Regina Caeli, Inc

Attn: Roberta Meadows, Business Administrator

    

      

 

 
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1565 Holcomb Bridge Rd
Roswell,GA 30076

FAX: (866) 242-1042

if you do not have access to a FAX machine, please consider using HelloFax (www.hellofax.com). An online, free, secure FAX service.

We request a response within one week of receiving (5 business days) offer of employment.
If there any questions, we are here to assist. Please call or email and | will be happy to help.

Attached:

4. Background Consent Form
2. 2015-16 Employee Handbook

Roberta Meadows, Business Administrator
Regina Caeli, Corporate Office

1565 Holcomb Bridge Rd

Roswell, GA 30076-2517

W: (678) 878-2500 ext. 202
F: (866) 242-1042
http://reahy brid.org . .

   

 

 

 

 
